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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF LOUISIANA

 JENNIFER RIST THOMPSON,                                            CIVIL ACTION
     Plaintiff


 VERSUS                                                             NO. 13-5584


 LABORATORY CORPORATION                                             SECTION: "E" (1)
 OF AMERICA,
      Defendant

                               ORDER OF DISMISSAL

       The Court having been advised by counsel for all parties that they have firmly agreed

upon a compromise in this matter;

       IT IS ORDERED that this action be and it is hereby dismissed as to the

aforementioned parties, without costs and without prejudice to the right, upon good cause

shown, within sixty days, to reopen the action if settlement is not consummated. In

addition, the Court specifically retains jurisdiction to enforce the settlement agreement if

settlement is not consummated within sixty days. See Fed. R. Civ. P. 41(a)(2); Kokkonen

v. Guardian Life Ins. Co. of Am., 511 U.S. 375, 381-82 (1994); Hospitality House, Inc. v.

Gilbert, 298 F.3d 424, 430 (5th Cir. 2002).

       COUNSEL ARE REMINDED THAT, IF WITNESSES HAVE BEEN

SUBPOENAED, EVERY WITNESS MUST BE NOTIFIED BY COUNSEL NOT

TO APPEAR.

                  New Orleans, Louisiana, this 23rd day of June, 2014.


                     ________________________________
                               SUSIE MORGAN
                       UNITED STATES DISTRICT JUDGE
